                        Case 2:18-cv-01929-JCM-NJK Document 1 Filed 10/08/18 Page 1 of 9



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                    6
                                                        UNITED STATES DISTRICT COURT

                                                                DISTRICT OF NEVADA
                    8

                    9      JOSEPH ROZICH,

                   10                              Plaintiff,
(, f.-                     VS.
ON             i11
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-                          JBS TOLLESON,Inc.; an Arizona
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E 693P ,r2
-Y   iw   |:
               I           Corporatiory DOES 1-20, inclusive; and ROE
F.l ,,dqo
>;xo6 :13
               I
                           ENTITIES 1-20; inclusive,
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iF=rB'r                          The above-named plaintiff, Joseph Rozich, by and through Murphy            & Murphy Law
5s             rl6
                         Offices, his attorneys of record, complains, states, and alleges as follows:
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                                                                         I.
                   18
                                                                      PARTIES
                   t9
                                 1.1     The plaintiff, Joseph Rozich, at all times rnaterial hereto, was and is a resident of
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                         Las Vegas, Clark County, Nevada, and is therefore a citrzenof Nevada.
               2l
                                 1.2     The Defendant JBS Tolleson, Inc., is an Arizona corporation, with its principal
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                         office located in Phoenix, Arrzona, and is therefore a citizen of Arizona. At all material timbs,
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                         JBS Tolleson was in the business of manufacturing and selling food products, including,
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                         without lirnitatioh, the manufacture and subsequent sale of ground beef products.
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                     Case 2:18-cv-01929-JCM-NJK Document 1 Filed 10/08/18 Page 2 of 9



                 1             1.3     DOES    1   through 20 inclusive are persons, and ROE ENTITIES 1 through 20 are

                 2     corporations, related subsidiary or parent entities, associations, or business entities. whose true

                 J     names and identities and capacities are unknown to Plaintiff at this      time. The DOE Defendants
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                       are individual persons acting on behalf of or in concert with, or at the direction'of, any of the

                       Defendant. The ROE Defendants may be corporations, associations, partnerships, su-bsidiaries,
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                       holding companies, owners, predecessor or successor entities, joint ventures, parent
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                       corporations, related business entities or the employer of any of the Defendants. Faoh named
                 1
                       Defendant and the DOE and ROE Defendants are legally responsible for the events and
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                       happenings stated in this Complaint, and thus proximately caused injury and damages to
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                       Plaintiff. In particular, said DOE and ROE Defendants are responsible in full or in part for the
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 /)f-                  growing, raising, distribution, processing,preparution, contamination, and sale of the raw
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        ri*            ground beef sold to or by Defendant. Plaintiff    will   ask leave of this Court to insert the true
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h       3d$r   t2
J -:o\1                names and capacities for such DOE and ROE, Defendants when discovered to substitute those
 h #Eqs 13             true names as defendants into these proceedings for said DOE and ROE Defendants.
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g Esti 14                                                                II.
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d> dpi,E   15
                                                         JURISDICTION AND VENUE
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Es             16             2.1      This Court has jurisdiction over this matter pursuant to 28 U.S.C. $ 1332. The
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               ,17    amount in controversy exceeds $75,000 exclusive of interests and costs, and this is an action by

               18     an individual   plaintiff against the defendant with its principal place of business in another state.

               I9             2.2      Venue   in this .judicial district is proper pursuant to 28 U.S.C. g         1391(a)(2)
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                      because a substantialpart      of the events or omissions giving rise to the claim occurred in this
               2l     judicial district and   because the defendant was subject      to personal jurisdiction in this judicial
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                      district at the time of the commencement of the action.
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                    Case 2:18-cv-01929-JCM-NJK Document 1 Filed 10/08/18 Page 3 of 9



                I                                                       ilI.
                                                           RELEVANT FACTS
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                      The JBS iSalzazel/a Newport Outbreak
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                             3.1     On September 5,2018, the U.S. Department of Agriculture's Food Safety and

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                      Inspection Service ("FSIS") was notified of an investigation of SalmonellaNewport i'llnesses

                6     with reported consumption of'several different FSlS-regulated products by case-patients. The

                7     first store receipt potentially linking the purchase of FSlS-regulated product to a case-patient

                8     was received on September 19,2018. FSIS was then able to begin traceback of ground beef

                9     products. To date, eight case-patients have provided receipts or shopper card numbers, which
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                      have enabled product tracebacl< investigations.
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                             3.2     FSIS, the Centerrs for Disease Control and Prevention ("CDC"), and state public
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                      health and agriculture partners determined that raw ground beef was the probable source of the
b 6€i3         13
E sEPp                reported illnesses. Traceback has identified JBS USA Food Company's Arizona-based beef
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    H                processing facility, JBS Tolleson, Inc., as the common supplier of the ground beef products. The
> {sPe         15
aL+ F'                epidemiological investigation has identified 57 case-patients from 16 states with illness onset
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                      dates ranging from August 5 to September 6,2018.
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               18            3.3     On October 4, 2018, FSIS announced that JBS Tolleson, Inc. was recalling

               I9    approximately 6,912,875 pounds of various raw, non-intact beef products possibly contaminated

           20        wfih Salmonella Newport. The raw, non-intact beef items, including ground beef,              werp

           2I        packaged on various dates from July 26,2018,              to September 7,2018. The   products were
           22        shipped to retail locations and institutions nationwide and bear the markine "EST. 267" inside

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                     the USDAmark of inspection.
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                             3.4    The Tolleson facility, in operation for about 45 years,,precesses meat under
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                     various brands including 5 Star Beef, Cedar River Farms, Showcase, La Herencia, Four Star,
                              Case 2:18-cv-01929-JCM-NJK Document 1 Filed 10/08/18 Page 4 of 9



                          1     Clear River. A July 2017 notice from the USDA's Food Safety and Inspection Service accused

                       2        the Tolleson facility's president of enabling "egregious" and "inhumane?' practices with
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                                livestock. Offrcials found two "mentally incoherent" cows laying on their side and "moaning          as
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                       +
                                if in pain.l' The inspector   asked for the cows to be euthanized but one died in its pen before     il
                          5
                                could be put down. According to an October 2017 agency document, the USDA inspectors
                       6
                                deferred action against JBS Tolleson and gave them a chance to implement a proposed action
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                                plan
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                                       3.5     The 2018 recall announcement came more than ayear after the U.S. Department
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                                of Agriculture sent the enforcement notice to the company's president and months after one of
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                                the company's plants in North Carolina recalled 35,000 pounds of raw ground beef.
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^   ^\',Y o rz                 Salmonella Infections
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r'#Eqs               13                3.6     Salmonella is an enteric bacterium, which means that       i1.   lives in the intestinal
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S {ggi 14                      tracts of humans and other animals. Salmonella bacteria are usually transmitted to humans by
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> F.                            eating foods contaminated with human or animal feces. Contaminated foods usually look and
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                                smell normal. 'Contaminated foods are often          of animal origin, but all foods, including
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                               vegetables, may become contetminated. An infected food handler who neglects to wash his or
                     18
                               her hands with soap and warm water after using the bathroom may also contaminate f,ood.
                     I9
                                       3.7     Once in the lumen of the small intestine, the bacteria penetrate the epithelium,
                     20
                               multiply, and enter the blood within 24-72 hours. As few as 15.20 cells of Salmonella bacteria
                     2T
                               can cause salmonellosis or a nlore serious typhoid-like fever. Variables, such as the health and
                     22

                     aa        age of the host and virulence differences among the serotypes, affect the nature and extent of the
                     ZJ


                     24        illness. Infants, elderly, hospitalized, and immune suppressed persons are the populations that

                     25        are most susceptible to disease and suffer the most severe symptorns.
                            Case 2:18-cv-01929-JCM-NJK Document 1 Filed 10/08/18 Page 5 of 9



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                        I            3.8      The acute symptoms of Salmonella gastroenteritis include the sudden onset of

                    2         nausea, abdominal cramping, and diarrhea lasting several days. The dianhea often turns bloodlr.
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                    J
                              There is no real cure for Salmonella infection, except treatment of the symptoms. Persons with

                    4
                              severe diarrhea may require renrydration, often with intravenous fluids.
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                                     3.9      Persons with diarrhea usually recover completely, although             it may be several
                    6
                              months bEfore bowel habits return entirely to normal.           A     small number of persons who are
                    7
                              infected with Salmonella     will go on to develop pains in their joints, irritation of the eyes, and
                    8
                              painful urination. This development is called Reiter's syndrome or reactive arthritis, and it can
                    9
                              last for months or years, sometimes leading to chronic arthritis that is difficult to               treat.
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                              Antibiotic treatment does not make a difference in whether the person later develops arthritis.
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        ^'1: V     lA         The PlaintifP   s   Salmonella lnfection
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:'#Eqs             13                3.10     The plaintiff, Joseph Rozich, purchased two Crunch Wrap Supremes containing
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                   14        ground beef from the Taco Bell restaurant located at 535 East Windmill,,Las Vegas, NV, in the

 > {rePe           ls        very early hours of August             , 201 8.
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                                     3.11 The plaintiff             began experiencing severe diarrhea, around 2:00-3-:00p.m         ,on
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                             August 31, and went to the tLospital the same day. The plaintiffs othbr symptoms included
                   18
                             stomach cramps, and nausea.            A stool culture taken while   he received treatment tested positive
                   I9
                             for Salmonel/a Newport.
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                                     3'I2     The   plaintiff continues to recover from his Salmonella-related,iniuries.
                   2I

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                                                                      IV.      CAUSES OF ACTION

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                                                                             COUNT I
                                                                    STRICT PRODUCT LIABILITY
                   24
                                     4.1      At all times relevant to this action, the defendant was the rnanufacturer      arid seller
                   25
                             of an adulterated food product that, as a result of its defective and unsafe 'condition due to
                         Case 2:18-cv-01929-JCM-NJK Document 1 Filed 10/08/18 Page 6 of 9



                     1     Salmonella contamination, caused injury to the plaintiff. This food product was the ground beef

                  2        manufactured and sold by JBS Tolleson.
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                  J
                                  4.2      The adulterated food product that the defendant manufactured and sold was, at
                  4
                           the time   it left the defendant's control, defective      and unreasonably dangerous for its ordinary
                  5
                           and expected use because of its contamination with Salmonella, a sometimes deadly pathogen.
                  6
                                  4.3      The adulterated food product that the defendant manufactured and sold was
                  7
                           given to the plaintiff without any change in its defective condition.
                 8
                                  4.4      The adulterated food product that the defendant manufactured and sold was used
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                           in the manner expected and intended-that is, consumed by the plaintiff.
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                                  4.5      The plaintiff suffered injury and damages as a direct and proximate result of the
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^ ;-^(/YO       IZ        defective and unreasonably dangerous condition               of the    adulterated food product that the
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:'#€qs 13                 defendant manufactured and sc'ld.
E EgHp
S {gE,:         t4                                                COUNT II
d Hgf,t ls                                             NEGLIGENCE & NEGLIGENCE PER SE
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t-r+                              4.6      For purposes o{'this cause of action, the plaintiff incorporates all of the above-
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                          stated allegations as if   fully   set forth here.
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                18                4.7      The defendant owed to the plaintiff a duty to use reasonable care                 in   the

                I9        manufacture and sale of its focld products, the observance of which duty would have prevented

                20        or eliminated the risk that such food products would become contaminated with Salmonella or

                2T        any other.dangerous pathogen. The defendant breached this duty and was negligent as a result.

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                                  4.8      The defendant had a duty to comply with all safety statutes, laws, regulations,
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                          and codes including, but not limited to, the applicable provisions of the Federal Food,
                                                                                                                          f;rug an6
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                          Cosmetic Act and similar Ne',rada food and public health statutes               all of which prohibit   the
                25
                          manufacture and sale       of any food that is       adulterated,   or otherwise iniurious to health. The


                                                                                                                                   6
                             Case 2:18-cv-01929-JCM-NJK Document 1 Filed 10/08/18 Page 7 of 9



                         1     defendant failed to do so and was therefore negligent.

                         2              4.9         The plaintiff is among the class of persons intended to be protected by these
                         3
                               statutes, laws, regulations, safety codes and provision peftaining to the manufacture
                                                                                                                     and sale clf
                         4
                               food products. Further, foodborne illness caused by the manufacture and sale of pathogen-
                         5
                               contaminated food is the type of injury the safety statutes are intended to prevent.
                         6
                                        4.I0        The defendant had a duty to properly supervise, train, and monitor its employees,
                         l
                              and     to ensure that these ernployees         complied with     all   applicable safety statuteq, laws,
                         8
                              regulations' and safety codes pertaining to the manufacture and sale of food products at a retail
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                              food establishment, but the defbndant failed to do so and was therefore negligent.
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 Of-
 Oc\                111                 4.11       The defendant had a duty to use ingredients, supplies, and other materials that
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 F 9R6g iI2                   were reasonably safe, wholesome, free of defects, and that otherwise complied with applicable
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                              federal, state, and local laws, ordinances, and regulations, and that were clean, free from
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Ia ddv,, ,I4                  adulteration, and safe for human consumption, but the defendant failed to do so and was
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>                   i15       therefore negligent.
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4co                                     4.12       The defendant owed a duty of care to the plaintiff to design, prepare, sorve, and
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                              seil food that was frt for human consumption, and that was safe to the extent contemplated by a
                    18
                              reasonable consumer. The defendant breached these duties and was negligent as result.
                                                                                                           a
                    I9
                                       4.I3        As a direct and proximate result of the defendant's negligence, as alleged above,
                    20
                              the   plaintiff sustained injuries and damages in an amount to be determined       at   trial.
                    2I
                                                                          COUNT III
                    22
                                                                     BREACH OF WARRANTY
                    ZJ
                                       4.L4        The plaintiff inc;orporates the preceding paragraphs of this Complaint, by this
                    24
                              reference, as   if   each and every of these paragraphs was set forth here in its entirety.
                    25
                                       4.I5        By offering food products for sale, the defendant expressly warranted that such
                           Case 2:18-cv-01929-JCM-NJK Document 1 Filed 10/08/18 Page 8 of 9



                       1     food was safe to. eat,that it was not adulterated with a deadly pathogen, and that the food had

                    2        been safely prepared under sanitary conditions.
                    .,
                    J
                                    4.16    By offering food and drink for sale, the defendant also impfiedly warranted that
                    4
                             such food was safe to eat, tha1. it was not adulterated with a deadly pathogen, and that the food
                    5
                             had been safely prepared unden" sanitary conditions.
                    6
                                    4.17    The defendant breached express and implied warranties with regard to the

                             contaminated food products it manufactured and were consumed the plaintiffs.
                    8
                                    4.18 The plaintiff suffered        personal injuries and clamages       as a     foreseeable
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                  r10
                             consequence of the defendant's breach of warranties, as set forth above, and, are thus entitled to

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                            recover   for all actual,   consequential, and incidental damages that    flow directly and in      a
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B eX6g I2                   foreseeable fashion from these breaches.
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                                    WHEREFORE, the plaintiffs pray for the following relief:
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> i 3Ed           ,15                       (1)    That the Court award the plaintiffjudgment againsi the defendant in such
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                  t6        sums to   fully arld fairly compensate him for all general, special, and consequential     damages
                  l7
                            incurred, as the proximate result of the unlawful acts and omissions of the defendant;
                  18
                                           (2)     That the Court award the plaintiff his related costs and disbursements,
                  19
                            and any other relief that the court deems just and equitable;
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                                           (3)     That the Court award the plaintiff the opportunity to amend or modify the
                  2l
                            complaint, if necessary or appropriate after additional or further discovery is completed in this
                  22

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                        Case 2:18-cv-01929-JCM-NJK Document 1 Filed 10/08/18 Page 9 of 9



                          matter, and after all appropriate parties have been served.



                                 DATED this 5th day of October,20lg.

                                                                        MURPHY & MURPHY LAW OFFICES




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